~AO 245C      (Rev 12/03) Amended Judgment in a Criminal Case                                                            (NOTE: Identify Changes with Asterisks (0»
    NCED      Sheet I


                                             UNITED STATES DISTRlCT COURT
                             Eastern                                    District of                                   North Carolina

           UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                 v.
                      CEDRIC TAYLOR                                                 Case Number: 5:07-CR-1 02-2F
                                                                                     USM Number: 51091-056
Date of Original Judgm ent:                10/8/2008                                 SAMUEL J. RANDALL, IV
(Or Date of Last Amended Judgment)                                                  Defendant's Attorney
Reason for Amendment:
Ii/\' Correction of Sentence on Remand (18 U.S.C 3742(f)(l) and (2))                o Modification ofSuperYIsiol1 Conditions (18 U.SC §§ 3563(c) or 3583(e»
o Reduction of Sentence for Changed Circumstances (Fed R. Crim.                     o Modification of Imposed Term of Imprisonment for Extraordinary and
  P 35(b»                                                                             Compelling Reasons (18 U S.C § 3582(c)( I»)
o Correction of Sentence by Sentencing Coul1 (Fed R Crim P 35(a»                    o Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
o Correction of Sentence for Clerical Mistake (Fed. R. Crim P 36)                        to the Sentencing Guidelines (18 USC § 3582(c)(2»

                                                                                    [J Direct Motion to District Coul1 Pursuant 0 28 US C § 2255 or
                                                                                      o \8 USC § 3559(c)(7)
                                                                                    o Modification of Restitution Order (18 US.C § 3664)
THE DEFENDANT:
o  pleaded guilty to count(s)
o pleaded nolo contendere to count(s)
      which was accepted by the court.
Ii/\' was found guilty on count(s) 1 & 4 - SUPERSEDING INDICTMENT
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                             Offense End ed
 21 U.S.C § 846                             Conspiracy to Distribute and Possess With Intent to Distribute More               1/2312007              1s
                                            Than 50 Grams of Cocaine Base (Crack)

 18 US.C. §§ 1512(a)(2)(C) and 2            Tampering With a Witness and Aiding and Abetting                                  112312007
                                                                                                                                                     4s
       The defendant is sentenced as provided in pages 2 through                     6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act 0 f 1984.
Ii/\' The defendant has been found not guilty on count(s)              5 & 6 SUPERSEDING INDICTMENT
o Count(s)                                                     0 is 0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                4/26/2010
                                                                                Date ofImposition of Judgment




                                                                                    Name of Judge                                Title of Judge
                                                                                    10/8/2008
                                                                                    Date




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 AO 245C      (Rev 12/03) Amended Judgment in a Criminal Case
 NCED         Sheet 2 - Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (0))

                                                                                                         Judgment - Page _;;;.2_     of         6
 DEFENDANT: CEDRIC TAYLOR
 CASE NUMBER: 5:07-CR-102-2F

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

COUNT 1 • 240 MONTHS
"'COU NT 4 • 120 MONTHS'"                         "'COUNTS SHALL RUN CONCURRENTLY


 ~ The court makes the following recommendations to the Bureau of Prisons:

THAT THE DEFENDANT RECEIVE INTENSIVE DRUG TREATMENT WHILE INCARCERATED.
THE COURT FURTHER RECOMMENDS THE DEFENDANT BE IMPRISONED AT FCI BUTNER.


 riI The defendant is remanded to the custody of the United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
        D    at                                       D     a.m   D     p.m.        on

        D    as notified by the United States Marshal.

 D The defendant shall surrender for serv ice of sentence at the institut ion designated by the Burea u of Prisons:
        D    before 2 p.m. on
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




        Defendant delivered on                                                             to
 at                                                   _     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                               By                                                                    _
                                                                                                DEPUTY UNITED STATES MARSHAL




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AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
  NCED       Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      3      of        6
DEFENDANT: CEDRIC TAYLOR
CASE NUMBER: 5:07-CR-102-2F
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  COUNT 1 • 5 YEARS, COUNT 4 • 3 YEARS ALL SUCH TERMS SHALL RUN CONCURRENTLY



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o The above drug testing condition is suspended. based on the court's determ ination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
ill' The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, ifapplicable.)
o The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from (Xfxcessive n any use of alcohol and shall not purchase, possess, use, distribute, or administer
          any controlled substance or any paraphernalia"'re1ated to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.




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AO 245C    (Rev 12/03) Amended Judgment in a Criminal Case
  NeED     Sheet 3C - Supervised Release                                                       (NOTE: Identify Changes with Asterisks (0))

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                                                                                           Judgment-Page _ _                       6
DEFENDANT: CEDRIC TAYLOR
CASE NUMBER: 5:07-CR-102-2F

                                      SPECIAL CONDITIONS OF SUPERVISION
The defendant shall provide the probation office with access to any requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
office.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
and may require residence or participation in a residential treatment facility.

The defendant shall participate in a vocational training program as directed by the probation office.

The defendant shall consent to a warrantless search by a United States probation officer or, at the request of the probation
officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
compliance with the conditions of this juclgment.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.




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AD 245C       (Rev. 12/03) Amended Judgment in a Criminal Case
 NCED         Sheet 5 - Criminal Monetary Penalties                                                          (NOTE Identify Changes with Asterisks (.))

                                                                                                                      5 _,of
                                                                                                     Judgment- Page _ _                        6
DEFENDANT: CEDRIC TAYLOR
CASE NUMBER: 5:07-CR-102-2F
                                               CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                        Fine                                Restitution
TOTALS              $ 200.00                                          $ 11,800.00                        $


DO The determination of restitution is deferred unti I- - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shaH receive an approximately J)roportioned payment, unless specified otherwise
    in the priority ~rder or pe~centilge payment column below. However, pursuant to 18 U.S.c. § 3664(i), all non federal victims must be paid
    before the UnIted States IS paId.

Name of Payee                                                     Total Loss·               Restitution Ordered         Priority or Percentage




TOTALS                                                            $                  0.00    $                 0.00
                                                                                              ------­
D       Restitution amount ordered pursuant to plea agreement $                                  _

D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.c. § 36 I2(g).

lit' The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     riJ the interest requirement is waived for lit' fine D restitution.
        D the interest requirement for             D fine        D restitution is modified as follows:


• Findings forthe total amount of losses are required under Chapters 109A, 110, 11 OA. and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
    NeED     Sheet 6 - Schedule of Payments                                                               (NOTE Identify Changes with Asterisks (0»

                                                                                                       Judgment -          6_ of
                                                                                                                    Page _ _                 6
DEFENDANT: CEDRIC TAYLOR
CASE NUMBER: 5:07-CR-102-2F

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A     D Lump sum payment of$                               _ due immediately, balance due

            D ~la~th~                                               ,ill
            D   in accordance with      D C,       D D,         D   E, or    D F below; or
B     [J Payment to begin immediately (may be combined with                 D C,      D D, or   D F below); or
C      D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                   (e.g., weekly, monthly. quarterly) installments of $                  over a period of
                        (e.g.. months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~ Special instructi ons regarding the payment of criminal monetary penalties:

           The special assessment & fine shall be due in full immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
       corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecuti on.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


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AO 245C     (Rev. 12/03) Amended Judgment in a Criminal Case
 NCED       Sheet 7 - Denial of Federal Benefits                                                     (NOTE: Identify Changes with Asterisks (0»

                                                                                                                  7_ of
                                                                                                 Judgment- Page _ _                      6
DEFENDANT: CEDRIC TAYLOR
CASE NUMBER: 5:07-CR-102-2F
                                               DENIAL OF FEDERAL BENEFITS
                                     (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS, PURSUANT TO 21 U.S.C. § 862(a)

          IT IS ORDERED that the defendant shall be:

lit ineligible for all federal benefits for a period 5 YEARS
o ineligible for the following federal benefits for a period of
    (specify benefit(s))




                                                                     OR
o Having determined that this is the defendant's third or subsequent conviction for distributi on of controlled substances, IT IS
    ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSS ESSORS PURSUANT, TO 21 U.S.C. § 862(b)

    IT IS ORDERED that the defendant shall:

o be ineligible for all federal benefits for a period of
o be ineligible for the following federal benefits for a period of
    (specify benefit(s))




    o successfully complete a drug testing and treatment program.
    o perform community service, as specified in the probation and supervised release portion of this judgment.
    o Having determined that this is the defendant's second or subsequent conviction for possession ofa controlled substance, IT
          IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
          judgment as a requirement for the reinstatement of eligibility for federal benefits.




                  Pursuant to 21 U.S.c. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social
Security, health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or
services are required for eligibility. The clerk of court is responsible for sending a copy of this page and the first page of this
judgment to:
                            U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531




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